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                                    In the United States Bankruptcy Court
                                 for the SOUTHERN DISTRICT OF TEXAS
                                            HOUSTON DIVISION

                                                                        §
    In re:                                                              § Chapter 11
                                                                        §
    INSTANT BRANDS ACQUISITION                                          § Case No. 23-90716 (DRJ)
    HOLDINGS INC., et al.,                                              §
                                                                        § (Jointly Administered)
                            Debtors.1                                   §
                                                                        § Ref. Docket No. 103




                                             MASTER SERVICE LIST
                                              (as of June 16, 2023)2




1
  The debtors and debtors in possession in these chapter 11 cases, along with the last four digits
of their respective employer identification numbers or registration numbers in the applicable
jurisdictions, are as follows: Instant Brands (Texas) Inc. (2526); Instant Brands Acquisition
Holdings Inc. (9089); Instant Brands Acquisition Intermediate Holdings Inc. (3303); Instant
Brands Holdings Inc. (3318); URS-1 (Charleroi) LLC (7347); Instant Brands LLC (0566); URS-
2 (Corning) LLC (8085); Corelle Brands (Latin America) LLC (8862); EKCO Group, LLC
(7167); EKCO Housewares, Inc. (0216); EKCO Manufacturing of Ohio, Inc. (7300); Corelle
Brands (Canada) Inc. (5817); Instant Brands (Canada) Holding Inc. (4481); Instant Brands Inc.
(8272); and Corelle Brands (GHC) LLC (9722). The address of the debtors’ corporate
headquarters is 3025 Highland Parkway, Suite 700, Downers Grove, IL 60515.
2
 The Master Service List in Excel and label formats are available on the Debtor's website at https://dm.epiq11.com/case/inb/info
under "Case Actions."
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UNITED STATES TRUSTEE                                               DEBTOR


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                                                          BMO FINANCIAL GROUP

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